                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI

CRYSTAL DUEY                                     )
                                                 )
         Plaintiff,                              )
                                                 )
vs.                                              )      Case No.
                                                 )
MEDICREDIT INC.                                  )
                                                 )
         Defendant.                              )

                                         COMPLAINT

         NOW COMES the Plaintiff, CRYSTAL DUEY, by and through undersigned

counsel, and for her complaint against the Defendant, MEDICREDIT, INC., Plaintiff

states as follows:

                           I.         PRELIMINARY STATEMENT

      1. This is an action for actual and statutory damages for violations of the Fair Debt

         Collection Practices Act ("FDCPA"), 15 U.S.C. § 1692, et seq.

                                II.    JURISDICTION & VENUE

      2. Jurisdiction arises under the FDCPA, 15 U.S.C. § 1692 et seq., and pursuant to 28

         U.S.C. § 1331.

      3. Venue is proper in this district in that Plaintiff resides here, Defendant transacts

         business here and the conduct complained of occurred here.

                                        III.   PARTIES

      4. Crystal Duey ("Plaintiff") is a natural person who resides in Independence,

         Missouri.




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5. Plaintiff is a "consumer" as that term is defined by the FDCPA, 15 U.S.C. §

     1692a(3).

6. Medicredit, Inc., ("Medicredit") is a business entity engaged in the collection of

     debt within the State of Missouri.

7.    Medicredit is a "debt collector" as that term is defined by the FDCPA, 15 U.S.C.

     § 1692a(6).

                              IV.     ALLEGATIONS

8. The debt allegedly owed by Plaintiff, namely a medical debt with Centerpoint

     Medical Center ("the debt"), was incurred primarily for personal, family, or

     household services and is therefore a "debt" as that term is defined by the

     FDCPA, 15 U.S.C. § 1692a(5).

9. In July and August 2015, Medicredit repeatedly contacted Plaintiff about the debt

     and left messages on her cellular telephone.

10. These voicemail messages constituted communications as defined by the FDCPA,

     15 U.S.C. § 1692a(2).

11. Each of these messages failed to include the required mini-miranda disclosure that

     the call was an attempt to collect a debt from a debt collector and that any

     information obtained would be used for that purpose.

12. As such, these communications violated the FDCPA, 15 U.S.C. §1692e(11),

     which requires a debt collector to disclose the purpose of the call in

     communications with consumers.

13. Furthermore, Plaintiff did not receive any written correspondence from

     Medicredit regarding the alleged debt.




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   14. This omission by Medicredit violated the FDCPA, 15 U.S.C. 1692g(a), which

       requires debt collectors to send consumers a written disclosure regarding the debt

       within five days of their initial communication.

                           V.      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Crystal Duey, by and through counsel, respectfully prays

for judgment as follows:

       a.     All actual compensatory damages suffered pursuant to 15 U.S.C. §

              1692k(a)(1) from Medicredit and for Plaintiff;

       b.     Statutory damages of $1,000.00 pursuant to 15 U.S.C. §

              1692k(a)(2)(A) from Medicredit and for Plaintiff;

       c.     Plaintiff's attorneys' fees and costs pursuant to 15 U.S.C. §

              1692k(a)(3) from Medicredit and for Plaintiff;

       d.     Any other relief deemed appropriate by this Honorable Court.



                                             Respectfully submitted,

                                             ADDLEMAN LAW FIRM, LLC

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